      Case3:05-cr-00167-WHA
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 1 SUSAN RAFFANTI, ESQ.
   State Bar No. 120993
 2 469 Ninth Street, Suite 200
   Oakland, CA 94607
 3 (510) 451-2825
 4 Attorney for Defendant
   RONNIE CALLOWAY
 5
 6                      IN THE UNITED STATES DISTRICT COURT
 7                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
 8
     UNITED STATES OF AMERICA,      )   No. CR 05 00167 WHA
 9                                  )
                Plaintiff,          )
10                                  )   [PROPOSED] ORDER ALLOWING RONNIE
     v.                             )   CALLOWAY TO RECEIVE SHOES
11                                  )
     EDGAR DIAZ, et al.,            )
12                                  )
                Defendants.         )
13
14
15        GOOD CAUSE APPEARING, the San Francisco County Jail is hereby

16 ordered to accept a pair of new tennis shoes with no metal in them for
17 RONNIE CALLOWAY, to be purchased and delivered by his attorney.
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     U.S. v. Edgar Diaz et al.; CR 05 00167 WHA
     ORDER RE SHOES
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